  UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF NORTH
                   CAROLINA CHARLOTTE DIVISION


UNITED STATES OF AMERICA

      V.                                          CASE NUMBER: 3:05CR104-19

FRANK WOOD THOMAS


       THIS MATTER is before the Court on an Order, filed 08/26/2013,

      for re-sentencing.

       NOW, THEREFORE, IT IS ORDERED that:

       The Bureau of Prisons and the United States Marshals service is hereby ORDERED to

       transport and produce the body of FRANK WOOD THOMAS (USM# 20312-058), for re

       sentencing before the honorable Frank D. Whitney,      in the Western District of North

       Carolina, Charlotte, North Carolina not later than October 1, 2013, and upon completion

       of the re-sentencing hearing, Defendant is to be returned to the custody of the Bureau

      of Prisons.

      The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States Probation Office.

      IT IS SO ORDERED.




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